    Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 1 of 17




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


DONNA CURLING, et al.,

    Plaintiffs,

    v.                                           CIVIL ACTION NO.
                                                 1:17-CV-2989-AT
BRAD RAFFENSPERGER, et al.,

    Defendants.

BRIEF OF THE ELECTRONIC PRIVACY INFORMATION CENTER
AS AMICUS CURIAE IN SUPPORT OF PLAINTIFFS’ MOTION FOR
               PRELIMINARY INJUNCTION




                                 Marc Rotenberg
                                  EPIC President and Executive Director

                                 Alan Butler (pro hac vice)
                                  EPIC General Counsel

                                 Caitriona Fitzgerald
                                  EPIC Policy Director
                                 ELECTRONIC PRIVACY
                                   INFORMATION CENTER
                                 1519 New Hampshire Avenue NW
                                 Washington, D.C. 20036
                                 (202) 483-1140
                                 Counsel for the Electronic Privacy
                                 Information Center
         Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 2 of 17




                                      TABLE OF CONTENTS

TABLE OF AUTHORITIES ................................................................................ ii
INTEREST OF THE AMICUS ........................................................................... 1
ARGUMENT ........................................................................................................ 2
I.      Voter privacy is widely recognized as critical to election integrity. ....... 3
II.     The secret ballot is vital for democracy. ................................................... 7




                                                         i
         Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 3 of 17




                                    TABLE OF AUTHORITIES

Cases
Buckley v. Valeo,
  424 U.S. 1 (1976). ............................................................................................. 4
Cox v. Williams,
  216 Ga. 535 (1961) ....................................................................................... 2, 3
Minnesota Voters Alliance v. Mansky,
  138 S. Ct. 1876 (2018) ...................................................................................... 5
Moon v. Seymour,
  182 Ga. 702 (186 S.E. 744) (1936) ................................................................... 3

Statutes
2019 Georgia Laws Act 24 (H.B. 316)................................................................. 4
22 U.S.C. § 8203(6)(B). ........................................................................................ 6
Ga. Code. Ann § 21-2-267 (2019) ........................................................................ 4

Other Authorities
Alessandro Acquisti, Roger Dingledine, and Paul Syverson, On the
  Economics of Anonymity, Financial Cryptography 84 (2003)........................ 2
Alexander Hertel-Fernandez, Employer Political Coercion: A Growing
  Threat, Am. Prospect (Nov. 23, 2015) ............................................................. 9
Anita Allen, Coercing Privacy, 40 WM. & MARY L. REV. 723 (1999) ................. 2
Caitriona Fitzgerald, Susannah Goodman, and Pamela Smith, The
  Secret Ballot at Risk: Recommendations for Protecting Democracy
  (Aug. 2016). ...................................................................................................... 5
Charlotte Garden, The Boss Can Tell You to Show Up for a Trump Rally,
  The Atlantic (Aug. 28, 2019)............................................................................ 8
David Chaum, Achieving Electronic Privacy, Scientific American 96
  (Aug. 1992) ....................................................................................................... 2
David L. Dill, Bruce Schneier & Barbara Simons, Voting and
  Technology: Who Gets to Count Your Vote?, 46 Communications of the
  ACM 29 (Aug. 2003) ......................................................................................... 2
Douglas W. Jones & Barbara Simons, Broken Ballots: Will Your Vote
  Count (Center for the Study of Language and Information, 2012) ............... 2
Gary T. Marx, What’s in a Concept? Some Reflections on the
  Complications and Complexities of Personal Information and
  Anonymity, 3 U. OTTAWA L. & TECH. J. 1 (2006) ............................................ 2
Jerry Kang, Cyberspace Privacy, 50 STAN. L. REV. 1193, 1209 (1998) ............. 2

                                                          ii
         Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 4 of 17




Jonathan W. White, Opinion, How Lincoln Won the Soldier Vote, N.Y.
  Times (Nov. 7, 2014) ........................................................................................ 8
Julie E. Cohen, Examined Lives: Informational Privacy and the Subject
  as Object, 52 STAN. L. REV. 1373 (2000).......................................................... 2
Latanya Sweeney, Anonymity: A Model for Protecting Privacy,
  International Journal on Uncertainty, Fuzziness and Knowledge-
  based Systems, 10 (5) (2002) ........................................................................... 2
Lee Fang, How Companies Pressure Workers to Vote for Corporate
  Interests Instead of their Own, The Intercept (Nov. 6, 2018) ........................ 9
Nat’l Acad. of Sci., Eng’g, and Med., et al. Securing the Vote: Protecting
  American Democracy 42, 87 (Nat’l Acad. Press, 2018) .................................. 7
Peter G. Neumann, National Computer Security Conference, Security
  Criteria for Electronic Voting (1993) ............................................................... 2
Ronald L. Rivest & Warren D. Smith, Three Voting Protocols:
  ThreeBallot, VAV, and Twin, USENIX/ACCURATE Electronic Voting
  Technology Workshop (2007)........................................................................... 2
Stefan Brands, Non-Intrusive Cross-Domain Digital Identity
  Management, Presented at Proceedings of the 3rd Annual PKI R&D
  Workshop (Apr. 2004) ...................................................................................... 2
U.S. Election Assistance Commission’s Technical Guidelines
  Development Committee, Voluntary Voting System Guidelines 2.0:
  Draft Recommendations for Requirements for Voluntary Voting
  System Guidelines 2.0 Principle 6 (Jan. 31, 2020) ......................................... 6




                                                       iii
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 5 of 17




                       INTEREST OF THE AMICUS

      EPIC seeks to preserve the secret ballot, the well-established right of

individuals to remain anonymous while voting. The Electronic Privacy

Information Center (“EPIC”) is a public interest research center established

to focus public attention on emerging privacy and civil liberties issues. EPIC

frequently participates as amicus curiae in cases that implicate emerging

privacy issues, including voter privacy. See, e.g., Brief of Amici Curiae EPIC

et. al, Crawford v. Marion County Election Board, 128 S. Ct. 1610 (2008)

(opposing voter photo-ID requirements as infringing on citizens’ right to cast

a secret ballot); Brief of Amici Curiae EPIC et al., Doe v. Reed, 561 U.S. 186

(2010) (arguing that the First Amendment protects the right to anonymity in

referenda signatures); Brief of Amici Curiae EPIC et al., Watchtower Bible

and Tract Society of N.Y., Inc. v. Village of Stratton, 536 U.S. 150 (2002)

(supporting First Amendment Right to anonymous door-to-door speech).

EPIC previously filed a brief as amicus curiae in this case concerning the

vulnerabilities of DRE voting systems to manipulation, attack, and fraud.

EPIC’s advisory board includes distinguished experts in law, technology, and




                                       1
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 6 of 17




public policy, including several who have pioneered techniques for election

security and privacy protection.1

                                  ARGUMENT

      Plaintiffs have submitted evidence into the record establishing that the

ballot-marking devices in use in Georgia elections makes the ballot

preferences of the voter easily viewable by others in the polling place,

including poll workers, and possibly family members, neighbors, colleagues,

and friends. Declarations were filed by multiple voters stating that they could

see other voters’ choices due to the large touchscreen on the voting machines




1 See, e.g., Douglas W. Jones & Barbara Simons, Broken Ballots: Will Your Vote
Count (Center for the Study of Language and Information, 2012); Ronald L. Rivest
& Warren D. Smith, Three Voting Protocols: ThreeBallot, VAV, and Twin,
USENIX/ACCURATE Electronic Voting Technology Workshop (2007); Gary T.
Marx, What’s in a Concept? Some Reflections on the Complications and Complexities
of Personal Information and Anonymity, 3 U. Ottawa L. & Tech. J. 1, 19 (2006);
Stefan Brands, Non-Intrusive Cross-Domain Digital Identity Management,
Presented at Proceedings of the 3rd Annual PKI R&D Workshop (Apr. 2004),
available at http://www.idtrail.org/files/cross_domain_identity.pdf; Alessandro
Acquisti, et al., On the Economics of Anonymity, Financial Cryptography, 84-102
(2003); David L. Dill, Bruce Schneier & Barbara Simons, Voting and Technology:
Who Gets to Count Your Vote?, 46 Communications of the ACM 29 (Aug. 2003);
Latanya Sweeney, Anonymity: A Model for Protecting Privacy, International
Journal on Uncertainty, Fuzziness and Knowledge-based Systems, 10 (5), 557-70
(2002); Julie E. Cohen, Examined Lives: Informational Privacy and the Subject as
Object, 52 STAN. L. REV. 1373, 1425 (2000); Anita Allen, Coercing Privacy, 40 Wm. &
Mary L. Rev. 723, 756 (1999); Jerry Kang, Cyberspace Privacy, 50 Stan. L. Rev.
1193, 1209 (1998); Peter G. Neumann, National Computer Security Conference,
Security Criteria for Electronic Voting (1993); David Chaum, Achieving Electronic
Privacy, Scientific American 96-101 (Aug. 1992).

                                         2
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 7 of 17




and lack of privacy enclosure around them. The blue “privacy” panels

provided to polling places by the Secretary of State are ineffective and do not

ensure ballot secrecy, given the configuration of the ballot marking device

screen that is easily viewed by others.

      The right to cast a secret ballot in a public election is a core value in the

United States’ system of self-governance. Secrecy of the ballot is guaranteed

in state constitutions and statutes nationwide, including in Georgia. Ballot

secrecy and voter privacy in elections prevent coercion and are essential to

integrity in the electoral process.

I.    Voter privacy is widely recognized as critical to election
      integrity.

      Voter privacy has been widely recognized by federal and state courts,

as well as legislatures, as essential for election integrity. Voter privacy

includes the right to secrecy of voters’ ballot selections as well as privacy

when marking, verifying, and casting one’s ballot.

      Georgia has historically taken steps to protect voter privacy. Georgia

statute requires that election officials provide polling places where:

      [E]lectors may conveniently mark their ballots, with a curtain,
      screen, or door in the upper part of the front of each compartment
      or booth so that in the marking thereof they may be screened from
      the observation of others. A curtain, screen, or door shall not be
      required, however, for the self-contained units used as voting


                                          3
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 8 of 17




      booths in which direct recording electronic (DRE) voting units or
      electronic ballot markers are located if such booths have been
      designed so as to ensure the privacy of the elector. […] In the
      case of direct recording electronic (DRE) voting units or electronic
      ballot markers, the devices shall be arranged in such a
      manner as to ensure the privacy of the elector while voting
      on such devices, to allow monitoring of the devices by the poll
      officers while the polls are open, and to permit the public to
      observe the voting without affecting the privacy of the
      electors as they vote.

Ga. Code. Ann § 21-2-267 (2019) (emphasis added). This provision was

most recently amended in 2019 to add references to “electronic ballot

markers,” but the provisions requiring voter privacy remained

unchanged. 2019 Georgia Laws Act 24 (H.B. 316).

      In Cox v. Williams, 216 Ga. 535 (1961), the Supreme Court of Georgia

found that the duty of election officers to adhere to the above voter privacy

statute and other polling place requirements is so critical that violations

could lead to a declaration that the election is null and void. Id. (violations

included “there was no screen, curtain, or door on the front of such [voting]

booths to exclude vision of the voter while marking his ballot.”) In an earlier

case where an election was also declared null and void after violations of the

requirements for voting booths, the Georgia Supreme Court said:

      It was intended that in counties holding elections under the
      Australian ballot system there should be privacy in the
      preparation of the ticket by a voter, so that he might exercise his


                                        4
          Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 9 of 17




         own volition in the choice of candidates, and that he might feel,
         when he is preparing his ballot to express his volition or election
         as to the different candidates, that he is free from all observation
         by the prying eyes of those who might be interested in having him
         vote for certain other candidates. […] [W]here there is a total
         disregard of the statute, it cannot be treated as an irregularity, but
         it must be held and adjudicated to be cause for declaring the
         election void and illegal.

Moon v. Seymour, 182 Ga. 702 (186 S.E. 744) (1936). Without adequate voter

privacy and ballot secrecy protections in place, Georgia risks its elections

being held null and void.

         The right to voter privacy and ballot secrecy is recognized nationwide.

A 2016 state survey conducted by EPIC, Common Cause, and Verified Voting

found that the vast majority of states (44) have constitutional provisions

guaranteeing secrecy in voting, while the remaining states have statutory

provisions referencing secrecy in voting. Caitriona Fitzgerald, Susannah

Goodman, and Pamela Smith, The Secret Ballot at Risk: Recommendations

for Protecting Democracy (Aug. 2016).2

         The current draft of the Election Assistance Commission’s Guidelines

makes clear that voting systems should protect voter privacy:

         Principle 6: Voter Privacy
         Voters can mark, verify, and cast their ballot privately and
         independently.


2   https://secretballotatrisk.org.

                                           5
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 10 of 17




      6.1 - The voting process preserves the privacy of the voter’s
      interaction with the ballot, modes of voting, and vote selections.
      6.2 - Voters can mark, verify, and cast their ballot or other
      associated cast vote record, without assistance from others.

U.S. Election Assistance Commission’s Technical Guidelines Development

Committee, Voluntary Voting System Guidelines 2.0: Draft

Recommendations for Requirements for Voluntary Voting System Guidelines

2.0 Principle 6 (Jan. 31, 2020).3

      As EPIC previously told this Court, ballot secrecy is so essential to the

free exercise of the right to vote that the United States, by law, will not

recognize foreign states as democracies unless they vote “by secret ballot.” 22

U.S.C. § 8203(6)(B). (In determining whether a country is democratic, the

Secretary shall “conduct assessments of such conditions in countries and

whether the country exhibits the following characteristics” including whether

the “national legislative body of such country . . . are chosen by free, fair,

open, and periodic elections, by universal and equal suffrage, and by secret

ballot.”)

      The U.S. Supreme Court recently noted the importance of voter privacy

in Minnesota Voters Alliance v. Mansky, 138 S. Ct. 1876 (2018), the Court



3https://collaborate.nist.gov/voting/pub/Voting/VVSG20DraftRequirements/vvsg-
2.0-2020-01-31-DRAFT-requirements.pdf.

                                         6
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 11 of 17




proclaimed that universal political speech restrictions at polling places

emerge from a respect for ballot secrecy:

      Between 1888 and 1896, nearly every State adopted the secret
      ballot. Because voters now needed to mark their state-printed
      ballots on-site and in secret, voting moved into a sequestered space
      where the voters could “deliberate and make a decision in . .
      . privacy.”

Id. at 1883.

II.   The secret ballot is vital for democracy.

      Ballot secrecy is a cornerstone of modern democracies. The secret ballot

reduces the threat of coercion, vote buying and selling, and tampering. For

individual voters, it provides the ability to exercise their right to vote without

intimidation or retaliation. As the National Academy of Sciences recently

found, “[i]f anonymity is compromised, voters may not express their true

preferences.” Nat’l Acad. of Sci., Eng’g, and Med., et al. Securing the Vote:

Protecting American Democracy 42, 87 (Nat’l Acad. Press, 2018).

      Prior to the adoption of the secret ballot in the United States in the late

19th century, coercion was commonplace. It was particularly strong in the

military. According to Jonathan White, significant pressure was put on

military rank and file to vote for Lincoln (though the soldier vote ultimately

did not change the result of the election):



                                        7
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 12 of 17




      Secretary of War Edwin M. Stanton used immense power to bring
      military voters into line, […] When Republican Senator Edwin D.
      Morgan of New York informed Stanton that a number of
      quartermaster clerks had endorsed Gen. George B. McClellan for
      president, Stanton dismissed 20 of them. When one of the clerks
      protested his dismissal, an unsympathetic Stanton replied, “When
      a young man receives his pay from an administration and spends
      his evenings denouncing it in offensive terms, he cannot be
      surprised if the administration prefers a friend on the job.”

Jonathan W. White, Opinion, How Lincoln Won the Soldier Vote, N.Y. Times

(Nov. 7, 2014).4 Establishment of the secret ballot helped prevent that type of

coercion in the military and in the workplace.

      The risk of political coercion in the workplace is just as strong today,

making the secret ballot as important now as when it was first adopted. An

Ohio coal mining company required its workers to either attend a

Presidential candidate’s rally or take paid time off (and, as a result, not

receive overtime pay that week). Charlotte Garden, The Boss Can Tell You to

Show Up for a Trump Rally, The Atlantic (Aug. 28, 2019).5 Executives at

Georgia-Pacific, a subsidiary of Koch Industries which employs

approximately 35,000 people, distributed a flyer and a letter indicating which

candidates the firm endorsed. “The letters warned that workers might ‘suffer



4http://opinionator.blogs.nytimes.com/2014/11/07/how-lincoln-won-the-soldier-vote/.
5https://www.theatlantic.com/ideas/archive/2019/08/employers-unfairly-coerce-
workers/596935/

                                         8
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 13 of 17




the consequences’ if the company’s favored candidates were not elected.”

Alexander Hertel-Fernandez, Employer Political Coercion: A Growing Threat,

Am. Prospect (Nov. 23, 2015).6 In 2018, employees of Western National

Group, a private developer, received a letter from the company’s Chief

Executive Officer to “please join” him in opposing a California ballot initiative

on rent control. Lee Fang, How Companies Pressure Workers to Vote for

Corporate Interests Instead of their Own, The Intercept (Nov. 6, 2018).7

      Thanks to the secret ballot, employers cannot lawfully go so far as to

“check” on how an employee actually voted. But if ballots were no longer

secret, or if voter privacy at the polls were compromised, many employees

would risk losing their jobs if they voted against the recommendations of

management. Our democracy would no longer be free and fair.

      Because of the documented history of voter intimidation, coercion, and

fraud associated with third-party knowledge of how individual voters cast

their ballots, voter privacy remains central to election integrity. No

community is immune to the effects of voter manipulation, but some




6http://prospect.org/article/employer-political-coercion-growing-threat.
7https://theintercept.com/2018/11/06/midterms-2018-voting-coercion-bosses-
employees.

                                        9
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 14 of 17




communities are more vulnerable than others. The secret ballot is an integral

requirement of democratic governance.

                               CONCLUSION

      For the foregoing reasons, the Court should grant the Coalition

Plaintiffs’ motion for a preliminary injunction.

Dated: March 13, 2020                Respectfully submitted,

                                     Marc Rotenberg
                                      EPIC President and Executive Director

                                     /s/ Alan Butler
                                     Alan Butler (pro hac vice)
                                       EPIC General Counsel

                                     Caitriona Fitzgerald
                                      EPIC Policy Director

                                     ELECTRONIC PRIVACY
                                     INFORMATION CENTER
                                     1519 New Hampshire Avenue NW
                                     Washington, D.C. 20036
                                     (202) 483-1140

                                     s/ Russell T. Abney
                                     Russell T. Abney (Ga. Bar No. 000875)
                                     Ferrer Poirot Wansbrough
                                     2100 RiverEdge Parkway Suite 1025
                                     Atlanta, GA 30328
                                     (800) 661-8210

                                     Counsel for Amici Curiae Electronic
                                     Privacy Information Center




                                       10
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 15 of 17




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


DONNA CURLING, et al.,
       Plaintiffs,
       v.
                                                         CIVIL ACTION NO.
BRAD RAFFENSPERGER, et al.,                              1:17-CV-2989-AT
       Defendants.



                     CERTIFICATE OF COMPLIANCE

      I hereby certify that I have read the Court’s Standing Order in Cases

Proceeding Before the Honorable Amy Totenberg and that I will comply with

its provisions during the pendency of this litigation.

                                     /s/ Alan Butler
                                     Alan Butler (pro hac vice)
                                     General Counsel
                                     Electronic Privacy Information Center
                                     1519 New Hampshire Avenue NW
                                     Washington, D.C. 20036
                                     (202) 483-1140
                                     Counsel for Amicus

                                     s/ Russell T. Abney
                                     Russell T. Abney (Ga. Bar No. 000875)
                                     Ferrer Poirot Wansbrough
                                     2100 RiverEdge Parkway Suite 1025
                                     Atlanta, GA 30328
                                     (800) 661-8210
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 16 of 17




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


DONNA CURLING, et al.,
      Plaintiffs,
      v.
                                                     CIVIL ACTION NO.
BRAD RAFFENSPERGER, et al.,                          1:17-CV-2989-AT
      Defendants.



                    CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of

LR 5.1, using font type of Century Schoolbook and a point size of 13.

                                    /s/ Alan Butler
                                    Alan Butler (pro hac vice)
                                    General Counsel
                                    Electronic Privacy Information Center
                                    1519 New Hampshire Avenue NW
                                    Washington, D.C. 20036
                                    (202) 483-1140
                                    Counsel for Amicus

                                    s/ Russell T. Abney
                                    Russell T. Abney (Ga. Bar No. 000875)
                                    Ferrer Poirot Wansbrough
                                    2100 RiverEdge Parkway Suite 1025
                                    Atlanta, GA 30328
                                    (800) 661-8210
      Case 1:17-cv-02989-AT Document 726-1 Filed 03/13/20 Page 17 of 17




                       CERTIFICATE OF SERVICE

      I certify that I have this 13th day of March, 2020, served the foregoing

Certificate of Compliance upon all counsel of record by way of the Court’s

electronic case filing (ECF) system.



                                       /s/ Alan Butler
                                       Alan Butler (pro hac vice)
                                       General Counsel
                                       Electronic Privacy Information Center
                                       1519 New Hampshire Avenue NW
                                       Washington, D.C. 20036
                                       (202) 483-1140
                                       Counsel for Amicus


                                       s/ Russell T. Abney
                                       Russell T. Abney (Ga. Bar No. 000875)
                                       Ferrer Poirot Wansbrough
                                       2100 RiverEdge Parkway Suite 1025
                                       Atlanta, GA 30328
                                       (800) 661-8210
